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                                                               March 31, 2025




 VIA ECF

  Honorable Michael E. Farbiarz
  United States District Judge
  Frank R. Lautenberg U.S. Post Office & Courthouse
  Federal Square
  Newark, New Jersey 07102

            Re: United States v. Coburn & Schwartz,
                Dkt. No. 19-cr-120

 Dear Judge Farbiarz:

        On behalf of defendant Steven Schwartz, and in response to the Court’s Text Order of a
 few moments ago, ECF No. 1030, please be advised that we have not yet received a decision from
 the Government as to whether it will be proceeding with this matter.

                                                        Respectfully submitted,

                                                        s/ Lawrence S. Lustberg
                                                        Lawrence S. Lustberg




 Newark New York Trenton Philadelphia Wilmington                                        gibbonslaw.com
